                                 STATE OF MINNESOTA                       November 8, 2023


                                     IN SUPREME COURT

                                         A23-1354


Joan Growe, et al.,

                      Petitioners,

vs.

Steve Simon, Minnesota Secretary of State,

                      Respondent.




                                        ORDER

       On September 12, 2023, petitioners filed a petition pursuant to Minnesota Statutes

section 204B.44 (2022) asking, in part, for an order declaring that Donald J. Trump, who

served as President of the United States and has filed federal paperwork as a candidate for

President in the 2024 election, is disqualified from holding the office of President of the

United States pursuant to Section 3 of the Fourteenth Amendment to the United States

Constitution; and directing the Secretary of State to exclude Donald J. Trump from the

ballot for the March 5, 2024, presidential nomination primary and from the ballot for the

November 5, 2024, general election as a candidate for the office of President of the United

States. Absentee voting for the presidential nomination primary will begin January 19,

2024. See Minn. Stat. § 204B.35, subd. 4 (2022); see also Minn. Stat. § 204B.45, subd. 2

(2022).


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       Before considering petitioners’ request to pursue discovery and hold an evidentiary

hearing, we determined first to address threshold and potentially dispositive legal issues of

justiciability and the legal construction of Section 3 of the Fourteenth Amendment to the

United States Constitution. We directed petitioners, the Secretary of State, the Republican

Party of Minnesota, and former President Trump to file briefs addressing these issues and

held a hearing on November 2, 2023.

       We conclude that petitioners have standing and that their claims are ripe as to the

issue of whether former President Trump should be excluded from the 2024 Republican

presidential nomination primary. We reach a different conclusion regarding petitioners’

claim that it would be error for the Secretary of State to place former President Trump’s

name on the ballot for the 2024 general election ballot. That claim is neither ripe, nor is it

“about to occur” as section 204B.44(a) requires.

       With respect to the only ripe issue before us at this time, we conclude that under

section 204B.44, there is no “error” to correct here as to the presidential primary election

if former President Trump’s name is included on the presidential primary ballot after the

Chair of the Republican Party of Minnesota provides his name to the Secretary of State,

notwithstanding petitioners’ claim that former President Trump is disqualified from

holding office under Section 3 of the Fourteenth Amendment. The Legislature enacted the

presidential nomination primary process to allow major political parties to select delegates

to the national conventions of those parties; at those conventions the selected delegates will

cast votes along with delegates from all of the other states and territories and choose a

presidential candidate who will subsequently appear on general election ballots. See Minn.


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Stat. § 207A.11(d) (2022) (explaining that the presidential nomination primary “only

applies to a major political party that selects delegates at the presidential nomination

primary to send to a national convention”). This is “a process that allows political parties

to obtain voter input in advance of a nomination decision made at a national convention.”

De La Fuente v. Simon, 940 N.W.2d 477, 492 (Minn. 2020). Thus, although the Secretary

of State and other election officials administer the mechanics of the election, this is an

internal party election to serve internal party purposes, and winning the presidential

nomination primary does not place the person on the general election ballot as a candidate

for President of the United States. As we explained in De La Fuente, in upholding the

constitutionality of this statutory scheme for the presidential nomination primary, “[t]he

road for any candidate’s access to the ballot for Minnesota’s presidential nomination

primary runs only through the participating political parties, who alone determine which

candidates will be on the party’s ballot.” 940 N.W.2d at 494–95. And there is no state

statute that prohibits a major political party from placing on the presidential nomination

primary ballot, or sending delegates to the national convention supporting, a candidate who

is ineligible to hold office.

       Because there is no error to correct here as to the presidential nomination primary,

and petitioners’ other claims regarding the general election are not ripe, the petition must

be dismissed, but without prejudice as to petitioners bringing a petition raising their claims

as to the general election.

       Based upon all the files, records, and proceedings herein,




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       IT IS HEREBY ORDERED THAT:

       1.    The petition is dismissed, but without prejudice as to the general election.

       2.    So as not to impair the orderly election process, this order is issued with an

opinion to follow.

       Dated: November 8, 2023                  BY THE COURT:



                                                Natalie E. Hudson
                                                Chief Justice


       CHUTICH, PROCACCINI, JJ., took no part in the consideration or decision of

this case.




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